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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Tanika Beaulieu
                                  Plaintiff,
v.                                                  Case No.: 1:17−cv−05672
                                                    Honorable Rebecca R. Pallmeyer
Cigna HealthSpring, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 2, 2018:


        MINUTE entry before the Honorable Rebecca R. Pallmeyer: Status hearing held
on 5/2/2018. Plaintiff's response to Defendant's motion to dismiss [25] to be filed by or on
5/16/2018; reply to be filed by or on 5/23/2018; ruling set for 5/30/2018 at 9:30 AM.
Discovery to close 9/28/2018. MIDP disclosures to be made within 21 days. Mailed
notice. (etv, )




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